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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.:   17-CR-20075-HUCK/McAliley

  UNITED STATES OF AMERICA,

          Plaintiff,

  VS.


  JAMES KELLY MORENCY,

          Defendant.
  --------------------------~/
        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION ON
                             CHANGE OF PLEA

          THIS CAUSE came before the Court upon the Defendant's request to enter a plea of guilty
  before the Magistrate Judge.
          THIS MATTER was referred to U.S. Magistrate Judge ChrisM. McAliley on April 10,
  2017 [ECF No. 41]. A Report and Recommendation [ECF No. 52] from April 26, 2017,
  recommended that the Defendant's plea of guilty be accepted. The Defendant and the U.S.
  Government were afforded the opportunity to file objections to the Report and Recommendation.
  No objections have been filed. The Court has conducted a de novo review of the entire file.
  Accordingly, it is
          ORDERED AND ADJUDGED that the Report and Recommendation [ECF No. 52] of
  U.S. Magistrate Judge Chris M. McAliley is hereby adopted and approved in its entirety. The
  Defendant James Kelly Morency is adjudged guilty as to the offenses charged in Counts 1, 15,
  16, and 17 of the Superseding Indictment.
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          DONE AND ORDERED in chambers in Miami, Florida, this G day of June, 2017.



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                                                     PAUL~.~~~~
                                                     UNITED STATES DISTRICT JUDGE

  cc: All counsel of record
